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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                                PLAINTIFFS’ UPDATED WITNESS LIST

            Pursuant to Rule 26(a)(3) of the Federal Rules of Civil Procedure, and the Court’s request

     during the November 26, 2019 status conference, Plaintiffs hereby submit their updated list of

     witnesses for trial in the above-captioned matter.

            Plaintiffs reserve the right to call anyone appearing on Communications, Inc. and CoxCom,

     LLC’s (“Cox”) witness list and reserve the right to call additional witnesses in rebuttal to those

     witnesses called by Cox. Plaintiffs also reserve their right to offer additional testimony by

     deposition or trial transcript and to amend or supplement this list.

            A.         Witnesses Plaintiffs Expect to Present at Trial

                       1. Michael Abitbol

                       2. Sam Bahun

                       3. David Benjamin

                       4. Barbara Frederiksen-Cross

                       5. Matt Flott

                       6. David Kokakis

                       7. Paul Kahn
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             8. Dennis Kooker

             9. Wade Leak

             10. Dr. William Lehr

             11. Steve Marks

             12. Dr. George McCabe

             13. Dr. Terrence McGarty

             14. Alasdair McMullan

             15. Brent Beck

             16. Matt Carothers

             17. Sanford Mencher (by cross examination during Cox’s case, as part of Plaintiffs’
                 case in chief)

             18. Sidd Negretti (by cross examination during Cox’s case, as part of Plaintiffs’
                 case in chief)

             19. Joseph Sikes*

             20. Linda Trickey

             21. Roger Vredenburg

             22. Jason Zabek*

       B.    Witnesses Plaintiffs May Call to Testify at Trial

             1. Chris Bell

             2. Neil Carfora

             3. William Basquin*

             4. Randall Cadenhead*

             5. Tom Foley

             6. Jorge Fuenzalida*

             7. Jason Gallien



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              8. Jon Glass

              9. Vance Ikezoye*

              10. Dong Jang

              11. Paul Jarchow*

              12. Clint Summers*

              13. Brian Stifel*

              14. Jeff Walker

              15. Any witness listed on Cox’s witness list or Rule 26(a)(1) disclosures.


       *By live testimony, by deposition or both.



 Dated November 29, 2019                              Respectfully Submitted,

                                                      /s/ Scott A. Zebrak /
                                                      Scott A. Zebrak (38729)
                                                      Matthew J. Oppenheim (pro hac vice)
                                                      Jeffrey M. Gould (pro hac vice)
                                                      Kerry M. Mustico (pro hac vice)
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